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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                No. 17-CR-123 (LAP)
-against-
                                                        ORDER
PEDRO OLIVO,

                       Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     Counsel’s motion to adjourn the status conference

originally scheduled for October 27, 2020 at 10:00 a.m. is

GRANTED.     The conference is hereby adjourned to January 27, 2021

at 10:00 a.m.      Time shall be excluded under the Speedy Trial

Act, 18 U.S.C. § 3161(h)(1)(A), (h)(7), up until the next

conference date, as this adjournment is to allow time to further

address the defendant’s mental competency and is otherwise in

the interest of justice.

SO ORDERED.

Dated:       New York, New York
             October 16, 2020


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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